                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


  TRUSTEES OF IBEW 7 PENSION FUND, ET AL
                                                                              CIVIL ACTION
                               Plaintiff
                                                                          3:20-cv-11672
                                                                    NO.
                      V.


   COGHLIN ELECTRICAL CONTRACTORS, INC.

                               Defendant


                 AGREEMENT FOR JUDGMENT FOR THE PLAINTIFF

        Now come the parties in the above-entitled action, by their attorneys, and

 hereby stipulate and agree that the following entries be made:
                                                                    129,792.52
               "Judgment for the Plaintiff in the sum of $
                           ✔                                ✔
               (with/without) interest, and (with/without) costs"




        Dated this    11th            day of November 2021                                   .


                                             Colby J. Jackson (BBO #696825)


                                             /s/ Colby J. Jackson
                                                    Attorney (s) for the Plaintiff


                                             Elise M. Kuehn (BBO No. 688829)

                                              /s/ Elise M. Kuehn

                                                    Attorney (s) for the Defendant
                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been filed through the ECF system and
will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent by first class mail, postage
prepaid, to those indicated as non-registered NEF participants on this 11th day of
November, 2021.

___/s/ Colby J. Jackson____________
